                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                    )
 TONYA R. CHAPMAN,                  )
                                    )
           Plaintiff,               )                           Civil Action No.
                                    )
 v.                                 )                             1:18-CV-345
                                    )
 OAKLAND LIVING CENTER, INC.,       )                        Jury Trial Demanded
 ARLENE SMITH, MICHAEL SMITH, )
 and STEVE SMITH,                   )
                                    )
           Defendants.              )
 __________________________________ )

                                   AMENDED COMPLAINT

       Comes now the plaintiff, and complaining of the defendants, alleges and says:

                                  NATURE OF COMPLAINT

   1. This action is seeking damages against Defendant Oakland Living Center, Inc. for

violation of Plaintiff’s rights protected by Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

2000e et. seq. and against all Defendants for violation of Plaintiff’s rights as protected by 42

U.S.C. § 1981.

                          PARTIES, JURISDICTION, AND VENUE

   2. Plaintiff, Tonya R. Chapman (hereinafter “Chapman” or “Plaintiff”), is a citizen and

resident of Rutherford County, North Carolina.

   3. Defendant, Oakland Living Center, Inc. (hereinafter “OLC” or “Defendant”), is a

domestic corporation and may be served with process through its registered agent, Michael S.

Smith, at 704 Poors Ford Rd., Rutherfordton, NC 28139.

   4. Defendant, Arlene Smith, is a resident of North Carolina and can be served with process

as 704 Poors Ford Rd., Rutherfordton, NC 28139.

   5. Defendant, Michael Smith, is a resident of North Carolina and can be served with process




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at 704 Poors Ford Rd., Rutherfordton, NC 28139.

    6. Defendant, Steve Smith, is a resident of North Carolina and can be served with process at

704 Poors Ford Rd., Rutherfordton, NC 28139.

    7. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as there are issues

of Federal Law.

    8. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 (c) as Defendants

are subject to the personal jurisdiction of this Court and because many of the acts giving rise to

this action occurred in this District.

                                          ALLEGATIONS

    9. Chapman, a black female, began working for Defendants in or about 2004. She was

employed until 2015, when she voluntarily resigned, and then later returned to work for

Defendants again in the spring of 2018.

    10. At the time of her return in 2018, Chapman was employed by Defendants as a cook, but

served in whatever capacity was needed from her. She remained in this role until the time of her

separation in August 2018. Chapman was the only black employee of Defendants.

    11. During the course of her employment with Defendants, Chapman was subjected to racial

discrimination and harassment based on her race (black).

    12. In the spring of 2013, Defendants informed its employees that they would be having their

pictures made for badges that they would be required to wear moving forward. All of

Defendants’ employees were photographed from the front, with a full picture of each employee’s

face. Chapman, however, was required to also provide a picture from the side view, and after

being photographed was told by Defendant Arlene Smith that she would be assigned a “slave

number” for her badge identification.



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   13. On her birthday in 2014, which fell on the same day as the children of Defendant Steve

Smith, and grandchildren of Defendants Arlene Smith and Michael Smith, Chapman was given a

cake that depicted a black “hangman” from a noose. Chapman was instructed to leave with her

cake so that the children could have their birthday party, the theme of which was monkeys.

   14. In July 2018, while working in the kitchen area, Chapman was approached by one of the

children of Defendant Steve Smith, and grandchild of Defendants Arlene Smith and Michael

Smith. The child requested that Chapman give him cupcakes. When Chapman refused, the child

told Chapman “my dad said you are a lazy black nigger because you did not come to work.”

Chapman reported the incident to her supervisor, Patricia Warner. However, to Chapman’s

knowledge, Warner did not take any action.

   15. On August 24, 2018, while working in the kitchen area, Chapman was again approached

by the child who called out to her and shouted “nigger, nigger, get to work nigger.” On

information and belief, this incident was witnessed by other employees.

   16. Upon belief, immediately following the August 24, 2018 incident, another employee

informed Defendant Steve Smith about his child’s actions because Smith approached Chapman

shortly after the incident and asked Chapman if his son called her a “ugly word.” Chapman

replied that the child did, and Smith informed Chapman that the child would be “straightened

out.”

   17. Immediately following the conversation with Defendant Steve Smith, Chapman was

again approached by the child who said to her “Tonya, you are a nigger.”

   18. Chapman was so distressed over the harassment she had suffered including the racial

slurs that she left the facility and did not return. Chapman found the “slave number” reference,




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the “hangman” on the noose, and the monkey party offensive. However, being repeatedly called

a “nigger” while at work was too much for Chapman to endure and she did not return to work.

   19. On or about September 18, 2018, Chapman filed a charge of Discrimination against

Defendant Oakland Living Center, Inc. with the United States Equal Employment Opportunity

Commission (“EEOC”).

   20. The EEOC issued Chapman a Notice of Right to Sue on September 28, 2018.

   21. The original complaint in this case was filed December 3, 2018, which was within ninety

(90) days of Chapman’s receipt of the Notice of Right to Sue from the EEOC.

FIRST CLAIM FOR RELIEF AS TO DEFENDANT OAKLAND LIVING CENTER, INC.
      (Harassment under Title VII 42 U.S.C. § 2000e et. seq. and 42 U.S.C. § 1981)


   22. Plaintiff incorporates by reference the allegations of paragraph 1 through 21 of the

complaint.

   23. Plaintiff is black, and Defendants conduct described herein was directed to Plaintiff

because of her race.

   24. The conduct directed toward Plaintiff due to her race was severe or pervasive,

unwelcome, subjectively and objectively offensive constituting unlawful racial harassment.

   25. Defendants subjection of Plaintiff to unlawful harassment caused Plaintiff’s damages,

including but not limited to great emotional distress, mental pain, suffering, stress, grief, worry,

and mental anguish.

   26. Defendants actions in unlawfully racially harassing Plaintiff was intentional, willful, and

in reckless disregard for Plaintiff’s legally protected rights and justify awarding punitive

damages.




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   27. Therefore, Plaintiff sues Defendant OLC for unlawful harassment in violation of Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et. seq and 42 U.S.C. § 1981.

                SECOND CLAIM FOR RELIEF AS TO ALL DEFENDANTS
                        (Harassment under 42 U.S.C. § 1981)

   28. Plaintiff incorporates by reference the allegations of paragraph 1 through 21 of the

complaint.

   29. Plaintiff is black, and Defendants conduct described herein was directed to Plaintiff

because of her race.

   30. The conduct directed toward Plaintiff due to her race was severe or pervasive,

unwelcome, subjectively and objectively offensive constituting unlawful racial harassment.

   31. Defendants subjection of Plaintiff to unlawful harassment caused Plaintiff’s damages,

including but not limited to great emotional distress, mental pain, suffering, stress, grief, worry,

and mental anguish.

   32. Defendants actions in unlawfully racially harassing Plaintiff was intentional, willful, and

in reckless disregard for Plaintiff’s legally protected rights and justify awarding punitive

damages.

   33. Therefore, Plaintiff sues all Defendants for harassment in violation of 42 U.S.C. § 1981.

                              THIRD CLAIM FOR RELIEF
           (Constructive Discharge under Title VII of the Civil Rights Act of 1964,
                       42 U.S.C. 2000e, et. seq., and 42 U.S.C. § 1981)

   34. Plaintiff incorporates by reference the allegations of paragraphs 1 through 21 of this

complaint.

   35. During the course of her employment with Defendant, Plaintiff was subjected to unlawful

racial harassment.



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   36. The ongoing harassment was unwelcome, severe or pervasive, objectively and

subjectively offensive to Plaintiff, altered the terms and condition of Plaintiff’s employment, and

unreasonably interfered with her work.

   37. The unlawful racial harassment of Plaintiff created an intolerable workplace

environment. Defendant OLC failed to take appropriate action to end the racial harassment and

such ongoing racial harassment in the face of Plaintiff’s complaints, resulted in her being

constructively discharged. The unlawful racial harassment would have caused any reasonable

employee to resign.

   38. Defendants’ subjection of Plaintiff to unlawful harassment caused Plaintiff’s damages,

including but not limited to great emotional distress, mental pain, suffering, stress, grief, worry,

and mental anguish.

   39. Defendants’ actions in unlawfully racially harassing Plaintiff was intentional, willful, and

in reckless disregard for Plaintiff’s legally protected rights and justify awarding punitive

damages.

   40. Therefore, Plaintiff sues Defendant Oakland Living Center for constructive discharge in

violation of Title VII of the Civil Rights Act of 1964 and 42 U.S.C. § 2000e et. seq and 42

U.S.C. § 1981.



                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that:

   A. The Court enter a judgement in favor of Plaintiff and against Defendants to include

compensation for lost wages, lost benefits, and other economic losses that were proximately

caused by the discriminatory and/or unlawful actions reference herein.



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   B. The Court enter an award in favor of Plaintiff and against Defendants for the great

emotional distress, mental pain, suffering, stress, grief, worry, and mental anguish caused by

Defendants’ wrongfully discharging Plaintiff.

   C. The Court enter an award in favor of Plaintiff and against Defendants for punitive

damages caused by its intentional, willful, wonton, and reckless actions.

   D. This matter be tried by a jury.

   E. The judgement bear interest at the legal rate from the date of filing this action until paid.

   F. Defendant be taxed with the costs of this action; and

   G. The Court order such other and further relief as it may deem just and proper.



Respectfully submitted this the 1st day of April, 2020.

                                              By:     /s/ KIRK J. ANGEL
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                                                      Attorney for the Plaintiff
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 and STEVE SMITH,                   )
                                    )
           Defendants.              )
 __________________________________ )

                                CERTIFICATE OF SERVICE

     I hereby certify that on April 1, 2020, I electronically filed the foregoing “Amended

Complaint” with the Clerk of Court using the CM/ECF system which will send notification of

such filing to the following:

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     Attorney for Defendants


                                     Respectfully submitted,

                                                    By:      /s/ KIRK J. ANGEL
                                                             Kirk J. Angel




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